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                IN THE UNITED STATE DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RANDALL L. SPADE,                     :     NO: 4:15-CV-02513
              Petitioner              :
                                      :     (Judge Brann)
      -VS-                            :
                                      :
THE UNITED STATES DEP’T               :
OF JUSTICE                            :

                             NOTICE OF APPEAL

      NOTICE IS HEREBY GIVEN that Randall L. Spade, Petitioner above-

named, hereby appeals to the Untied States Court of Appeals for the Third Circuit

from the Order granting Defendant’s Motion to Dismiss entered in this action on the

31st day of March, 2021.


                                      RESPECTFULLY SUBMITTED,


                                      By: _/s/ Christian A. Lovecchio
                                            Christian A. Lovecchio, Esquire
                                            Attorney ID# 85505
                                            Attorney for Petitioner
                                            520 West 4th Street, Suite 1A
                                            Williamsport, PA 17701
                                            570.323.3772
                                            Fax: 570.323.8647
       Case 4:15-cv-02513-MWB Document 45 Filed 04/29/21 Page 2 of 2




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              Petitioner              :
                                      :      (Judge Brann)
      -VS-                            :
                                      :
THE UNITED STATES DEP’T               :
OF JUSTICE                            :

                         CERTIFICATE OF SERVICE

      I, Christian A. Lovecchio, Esquire, counsel for Randall L. Spade, hereby

certify that on this 29th day of April, 2021, I have served, via the ECF system, the

foregoing Notice of Appeal on Timothy Judge, Esquire, Assistant U.S. Attorney,

William J. Nealon Federal Building and Courthouse, Scranton, PA 18503.


                                      RESPECTFULLY SUBMITTED,


                                      By: _/s/ Christian A. Lovecchio
                                            Christian A. Lovecchio, Esquire
                                            Attorney ID# 85505
                                            Attorney for Petitioner
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